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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

GULF MARINE FABRICATORS , LP              §
     Plaintiff,                           §
                                          §
VS.                                       §                   C. A. No. 2:16-cv-00430
                                          §                    Rule 9(h) - Admiralty
THE ATP INNOVATOR, bearing IMO No.        §
742, her tackle, furniture, apparel,      §
appurtenances, etc., in rem, and AMERINDO §
SERVICES LTD. and BLUE SKY LANGSA §
LTD., in personam,                        §
       Defendants.                        §

                          MOTION TO WITHDRAW AS COUNSEL

TO THE COURT:

       COME NOW Amerindo Services Ltd., solely in its capacity as Claimant to the ATP

INNOVATOR, and in personam Defendants Amerindo Services Ltd. (“Amerindo”) and Blue Sky

Langsa Ltd. (“Blue Sky”), and file this Motion to Withdraw as Counsel for the aforementioned

entities, and respectfully would show:

                                                 I.

       The undersigned is counsel for Claimant Amerindo and in personam Defendants Amerindo

and Blue Sky. Amerindo and Blue Sky have informed the undersigned that there are no funds

available to pay the undersigned’s past outstanding invoices, and for any services and expenses going

forward. For this reason, the undersigned requests to withdraw as counsel. Amerindo and Blue Sky

consent to the filing of this motion.

       WHEREFORE, PREMISES CONSIDERED, Amerindo Services Ltd., solely in its capacity

as Claimant to the ATP INNOVATOR, and in personam Defendants Amerindo Services Ltd. and
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Blue Sky Langsa Ltd. pray that this motion be in all respects granted, and for such other relief to

which they may be entitled.

                                               Respectfully submitted,



                                               By:     /s/ Richard L. Gorman
                                                        Richard L. Gorman
                                                        State Bar No. 00784155
                                                        Fed. I.D. 15685
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                                                        Houston, Texas 77024
                                                        Telephone: (832) 725-4026
                                                        Email: rg@richardgormanlaw.com
                                                        Attorney-in-Charge for Claimant
                                                        Amerindo Services Ltd. and in personam
                                                        Defendants Amerindo Services Ltd. and
                                                        Blue Sky Langsa Ltd.


OF COUNSEL:

RICHARD GORMAN LAW




                              CERTIFICATE OF CONFERENCE

       I certify that on this 10th day of April, 2018, emails were exchanged between counsel. Gulf
Marine Fabricators, LP takes no position with respect to the motion, but does object to the extent the
requested withdrawal would result in a delay of any current court deadlines or the vessel status trial.
ASRC Energy Services Omega, LLC takes no position on the motion.



                                                       /s/ Richard L. Gorman
                                                       Of Richard Gorman Law




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                                CERTIFICATE OF SERVICE

       I certify that on this 10th day of April, 2018, a true and correct copy of this pleading was
served on counsel of record Via Notice of Electronic Filing.



                                                      /s/ Richard L. Gorman
                                                      Of Richard Gorman Law


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